Case 2:08-cv-14792-RHC-MKM ECF No. 67 filed 10/12/18                  PageID.691      Page 1 of 2



                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

TDC INTERNATIONAL CORP.
f/k/a G.E. THOMPSON DEVELOPMENT CORP,

               Plaintiff,                                   Case No. 08-cv-14792
                                                            Hon. Robert H. Cleland
v.

JAE L. BURNHAM, d/b/a QUICK AND
EASY MOVING, and QUICK AND EASY
MOVING, LLC

               Defendants.

_______________________________________/
BRIAN C. GRANT (P71066)
O’Reilly Rancilio, PC
Attorney for Plaintiff
12900 Hall Road, Ste. 350
Sterling Heights, MI 48313
(586) 726-1000
bgrant@orlaw.com
________________________________________/


                                          STATUS UPDATE

       Pursuant to this Court’s Order staying the above action due to Defendant Jae L. Burnham

filing for bankruptcy protection, Plaintiff presents the following as its update with regard to the

adversary proceedings filed in the U.S. Bankruptcy Court for the Western District of Michigan,

Case No. 17-80176-swd:

       As this Court is aware, Defendant Jae L. Burnham filed for bankruptcy protection which

automatically stayed the instant action pursuant to 11 U.S.C §362(a). On November 17, 2017,

Plaintiff filed an adversary proceeding arguing that the debt for contempt of court sanctions

against Defendant is not dischargeable.
Case 2:08-cv-14792-RHC-MKM ECF No. 67 filed 10/12/18                                                  PageID.692   Page 2 of 2



               On January 9, 2018, the bankruptcy court entered a default against Defendant for failing

to plead or otherwise defend himself. Following that, on January 12, 2018 Plaintiff filed its

Motion for Default Judgment to render the debt nondischargeable. However, on March 21, 2018,

Defendant had counsel appear for a telephonic hearing on Plaintiff’s Motion for Default

Judgment and the bankruptcy court judge denied the motion and allowed Defendant the

opportunity to present a defense to the allegations.

               Following the denial of Plaintiff’s Motion for Default Judgment, the court set a

Scheduling Order on May 31, 2018 permitting Plaintiff to file a Motion for Summary Judgment

within 35 days from the date of the Scheduling Order. Based upon this deadline, Plaintiff filed

its Motion for Summary Judgment on July 2, 2018. As Defendants did not file a response, an

Opinion and Order was entered by the bankruptcy court on July 18, 2018 that Plaintiff’s Motion

for Summary Judgment was granted and that the debt at issue in non-dischargeable. Since that

time, counsel for Defendant has attempted to negotiate a resolution to this matter but to date no

such resolution has been acceptable. As such, Plaintiff requests this Honorable Court reopen this

lawsuit and order Defendant to show cause why he should not be held in contempt of court for

his continued violation of this Court’s previous Orders.


                                                                            Respectfully Submitted,

                                                                            O’REILLY RANCILIO, PC

                                                                            _/s/ Brian C. Grant__________
                                                                            Brian C. Grant (P71066)
                                                                            12900 Hall Road, Suite 350
                                                                            Sterling Heights, MI 48313
                                                                            (586) 726-1000
                                                                            bgrant@orlaw.com




J:\TDC International\1 - Jae Burnham\Pleadings\Status Update 10-12-18.doc
